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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA )
                         )
vs.                      )
                         )                       CR. NO. 19-CR-250-02-PB
CHRISTOPHER KELLY        )


       __________________________________________________________

                           MOTION IN LIMINE
               TO PRECLUDE TESTIMONY FROM WITNESSES
                         REGARDING HEARSAY
      ___________________________________________________________

      NOW COMES the defendant, CHRISTOPHER KELLY, and, by and through his
counsel, Patrick J. Richard, moves this Honorable Court, pursuant to Federal Rule of
Criminal Procedure 12(b) and Federal Rule of Evidence 802, to preclude the testimony
from witnesses that are not based on their own personal observations.
      As grounds therefore it is stated that:
      1.      The defendant has been provided discovery indicating that witnesses who
              are alleged to know the defendant will testify in this matter:
      2.      Said witnesses may have information that is based on hearsay, rather
              than their own personal knowledge of events;
      3.      Such information was not observed by the witness first hand, but was
              taken in via information received from being told by others;
      4.      Such testimony is hearsay and not admissible pursuant to any federal

              statute or rule;

      5.      No legal memorandum accompanies this motion as the relief requested

              and reasons therefore are fully set out herein.


      WHEREFORE, the Defendant requests this Court:
          A.  Allow this motion to Preclude Testimony;
          B.  Direct the United States to instruct it’s witnesses against hearsay
              testimony;
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             C.     Such other relief as the Court deems just and equitable.


                                                       Respectfully submitted
                                                       CHRISTOPHER KELLY
                                                       by his attorney,

                                                       _/s/ Patrick J. Richard_

                                                       PATRICK J. RICHARD
                                                       NH Bar: 12934
                                                       11 Kearney Square
                                                       Lowell, MA. 01852
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                                       CERTIFICATION
       I certify that a copy of the within Motion In Limine has been served upon all
registered parties by ECF on February 22, 2021.


                                                /s/ Patrick J. Richard
                                                Patrick J. Richard
